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AOQ245D (Rev. 09/19) Judgment in a Criminal Case For Revocations
Sheet 1

UNITED STATES DISTRICT COURT

Western District of Washington

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

v. (For Revocation of Probation or Supervised Release)

Case Number: 2:15CRO0120-001
USM Number: 44933-086

Vinh Q. Nguyen

 

 

_James Bible
Defendant’s Attorney
THE DEFENDANT:
of the petitions dated November 13, 2018 and
admitted guilt to violation(s) 1-6 May 16, 2019.
1 was found in violation(s) _ after denial of guilt.

 

The defendant is adjudicated guilty of these offenses:

Violation Number Nature of Violation Violation Ended
1. Consuming methamphetamine November 2018
2. Failing to report to probation November 2018
3. Failing to report for urinalysis testing November 2018
4, Failing to obey all laws by committing the crime of obstruction November 2018
5. Failing to obey all laws by committing the crime of possession of April 2019
heroin
6. Failing to obey all laws by committing the crime of possession ofa — April 2019
firearm

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

(1 The defendant has not violated condition(s) and is discharged as to such violation(s).

It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this jydgmepf are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney.of Soy: in egonomic circumstances.
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Richard A. Jones, United State ict Judge

Name and yi of Judge 2 2, 991 /

 

Date
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AQ245D (Rev. 09/19) Judgment in a Criminal Case For Revocations
Sheet 2 — Imprisonment

Judgment — Page 2 of 4
DEFENDANT: Vinh Q. Nguyen
CASE NUMBER: = 2:15CRO00120-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

Zt Zp Mort , Corcurtert +2  Serrence an CH (9-14

At The court makgs the following recommendations to the Bureau of Peisops: . ¢ (, W
S Vere Jen, OR, c& netk Closest - ‘4, +s eciv &, Ld

x The defendant is remanded to the custody of the United States Marshal.

L) The defendant shall surrender to the United States Marshal for this district:
LO at Oam. Opm. on

 

CL] asnotified by the United States Marshal.

[1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

1 before 2 p.m. on

 

Ll as notified by the United States Marshal.
C] as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
J have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL _
By

 

DEPUTY UNITED STATES MARSHAL
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AO245D (Rev. 09/19) Judgment in a Criminal Case For Revocations
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 3 of 4
DEFENDANT: Vinh Q. Nguyen
CASE NUMBER: — 2:15CR00120-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

Assessment Restitution Fine AVAA Assessment’ JVTA Assessment”
TOTALS $ 25 PAID $ N/A $ Waived $ None $ None
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage

TOTALS $ 0.00 $ 0.00

L] Restitution amount ordered pursuant to plea agreement $

 

Li The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and it is ordered that:

[-] the interest requirement is waived forthe 1 fine [1 _ restitution
L] the interest requirement forthe [1 fine C1 restitution is modified as follows:

The court finds the defendant is financially unable and is unlikely to become able to pay a fine and, accordingly, the imposition
of a fine is waived.

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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A0245D (Rev. 09/19) Judgment in a Criminal Case For Revocations
Sheet 6 — Schedule of Payments

Judgment — Page 4 of 4

DEFENDANT: Vinh Q. Nguyen
CASE NUMBER:  2:15CR00120-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

X] PAYMENT IS DUE IMMEDIATELY. Any unpaid amount shall be paid to
Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.

During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income, to commence 30 days after release from imprisonment.

[| During the period of probation, in monthly installments amounting to not less than 10% of the defendant's gross monthly
household income, to commence 30 days after the date of this judgment.

The payment schedule above is the minimum amount that the defendant is expected to pay towards the monetary
penalties imposed by the Court. The defendant shall pay more than the amount established whenever possible. The
defendant must notify the Court, the United States Probation Office, and the United States Attorney's Office of any
material change in the defendant's financial circumstances that might affect the ability to pay restitution.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program are made to the United States District Court,
Western District of Washington. For restitution payments, the Clerk of the Court is to forward money received to the
party(ies) designated to receive restitution specified on the Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[] Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA Assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
